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AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
Sheet 1

UNITED STATES DISTRICT COURT

Northern District of Ohio

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. ) (For Revocation of Probation or Supervised Release)
Masai Torbert

) Case No. 1:42. cr095-9
USM No. 70748-061
) Kevin Tierney, Esq. ince

THE DEFENDANT:

Wi admitted guilt to violation of condition(s) see below of the term of supervision.

 

O_ was found in violation of condition(s) count(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended
Violation 1 New law violation 05/17/2018
The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

Wf The defendant has not violated condition(s) 2 and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

 

 

Last Four Digits of Defendant’s Soc. Sec. No.: 6888 10/22/2020

Date of Imposition of Judgment _,
Defendant’s Year of Birth: 1969 Beat? HM kaa
City and State of Defendant’s Residence: : Signature of Judge

custody of the USMS
Michael R. Barrett, United States District Judge

 

Name and Title of Judge

Date
Case: 1:12-cr-00095-MRB Doc #: 421 Filed: 10/23/20 Page: 2 of 2 PAGEID #: 1907

AO 245D (Rev. 09/19) — Judgment in a Criminal Case for Revocations
Sheet 2— Imprisonment

Judgment — Page 2 of
DEFENDANT: Masai Torbert
CASE NUMBER: 1, }acr095-9

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

Eight (8) months with credit for time served from September 9, 2020.

(The court makes the following recommendations to the Bureau of Prisons:

MM The defendant is remanded to the custody of the United States Marshal.

QC) The defendant shall surrender to the United States Marshal for this district:

Oat Oam O pm. on

 

C] as notified by the United States Marshal.

QO The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O_ before 2 p.m. on

 

O as notified by the United States Marshal.

0 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
